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Attorneys for Iganagi Games Inc. Mig

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

   

Inre DMCA Subpoena to

YouTube, LLC } DECLARATION OF
} NAKAJIMA
)

 

{, Hiroyuki Nakajima, declare and iestify as follows:

1. Tam an attorney duly licensed to practice law in Japan. I represent Izanagi
Games Inc., a Japanese corporation, in the above-entitled proceeding and as such, Iam
authorized and qualified to make this declaration for and on its behalf, and I make this
declaration for that reason.

2. Izanagi Games Inc. is secking a subpoena pursuant to 17 U.S.C. § 512(h) to
obtain information sufficient to identify the persons infringing its copyrighted works.

3. The purpose for which this subpoena is sought is to obtain the identity of the
alleged infringers. Such information will only'bé used for the purpose of protecting rights
under the Copyright Act (17 U.S.C, § 101, et seq.). |
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In re DMCA Subpoena to YouTube, LEC
Declaration of Hiroyuki Nakajima

 

   
 
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foregoing is true and correct.

Executed on July 1? , 2020,

Hiroyuki Nakajima
Attorney for Izanagi Games Inc.

I declare under penalty of perjury under the laws of the United States of America that the

 

In re DMCA Subpoena to YouTube, LLC
Declaration of Hiroyuki Nakajima

 

-Page 2 of 2-

 
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3rd Floor, Tamagawa Building, 1-20,
Yotsuya, Shinjuku-ku

Tokyo, Japan 160-0004

TOKYO FLEX LAW OFFICE

Nakajima Hiroyuki, Attorney-at-Law

TEL +81-—-3—3353—3521
FAX +81—83—3356—-9228
MAIL nakajima@flex-law.gr.jp

Attorney for Izanagi Games Inc.

July 8,2020

Via Email

YouTube, LLC

Attn: Copyright Operations/ DMCA Complaints
901 Cherry Ave

San Bruno, CA 94066

Phone: 650-214-3010

Email: copyright@youtube.com

RE: NOTIFICATION OF COPYRIGHT INFRINGEMENT
(Pursuant to 17 U.S.C. § 512)

 

To whom it may concern:

I represent Izanagi Games Inc., a Japanese corporation (hereinafter called “Izanagi
Games”), the representative of the two individual authors of the copyrighted works
identified under the column entitled “Original Work” in Exhibit A attached to this notice
(“Exhibit A”).

It has recently come to Izanagi Games’s attention that certain users of your
services have unlawfully published and posted certain contents on your website located at
www.youtube.com, more specifically identified under the column entitled “Infringing
Work” in Exhibit A (referred to as the “Infringing Work”), corresponding to each of the
Original Work identified in Exhibit A.

Izanagi Games has a good faith belief that the Infringing Work is not authorized
by the copyright owner, its agent, or the law.

We demand that you immediately disable access to the Infringing Work and cease
any use, reproduction, and distribution of the Original Work. Specifically, we request that
you remove or disable the Infringing Work from www.youtube.com and/or any of your
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YouTube, LLC
July 8, 2020
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system or services.
We also request a written assurance that you have fully complied with our request.
I declare that the information in this notice is accurate, and under penalty of _
perjury, that Shogakukan and I are authorized to act on behalf of the owner of the exclusive

tight of the Original Work that is infringed.

Your immediate response will be appreciated.

Very truly yours,

Hiroyuki Nakajima
Altorney at Law
Case 5:20-mc-80123-SVK Document 1 Filed 07/23/20 Page 5of5

Youtube, LLC
July 8,2020
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Exhibit A.

     

     
   
  
     
 

     
 

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Death come true Izanagi Games Inc.

 
    

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